                                   1                                      UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                                   3
                                             AMERICAN FEDERATION OF
                                   4         GOVERNMENT EMPLOYEES,               ,           Case No. 3:25-cv-03698
                                             AFL-CIO, et al.
                                   5                      Plaintiff(s),
                                                                                             APPLICATION FOR ADMISSION OF
                                                   v.                                        ATTORNEY PRO HAC VICE
                                   6
                                                                                             (CIVIL LOCAL RULE 11-3)
                                   7          Trump, et al.                      ,
                                                          Defendant(s).
                                   8

                                   9
                                                        Tsuki Hoshijima
                                  10          I,                               , an active member in good standing of the bar of

                                  11    Massachusetts                          , hereby respectfully apply for admission to practice pro hac

                                  12   vice in the Northern District of California representing: see attached.                       in the
Northern District of California
 United States District Court




                                  13   above-entitled action. My local co-counsel in this case is Stacey M. Leyton                   , an

                                  14   attorney who is a member of the bar of this Court in good standing and who maintains an office

                                  15   within the State of California. Local co-counsel’s bar number is: _________________.
                                                                                                         203827

                                  16   P.O. Box 34553 Washington, D.C. 20043                 177 Post St., Ste 300 San Francisco, CA 94108
                                  17    MY ADDRESS OF RECORD                                  LOCAL CO-COUNSEL’S ADDRESS OF RECORD

                                  18   (202) 448-9090                                        (415) 421-7151
                                        MY TELEPHONE # OF RECORD                              LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD
                                  19
                                       thoshijima@democracyforward.org                       sleyton@altber.com
                                  20    MY EMAIL ADDRESS OF RECORD                            LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD

                                  21

                                  22          I am an active member in good standing of a United States Court or of the highest court of
                                  23   another State or the District of Columbia, as indicated above; my bar number is: 693765                .
                                  24          A true and correct copy of a certificate of good standing or equivalent official document
                                  25   from said bar is attached to this application.
                                  26                                                                  0
                                              I have been granted pro hac vice admission by the Court _______ times in the 12 months
                                  27   preceding this application.
                                  28
                                   1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                                   2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                                   3   Rules. I declare under penalty of perjury that the foregoing is true and correct.

                                   4   Dated: 5/8/25                                                 Tsuki Hoshijima
                                                                                                     APPLICANT
                                   5

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                                   7

                                   8                                  ORDER GRANTING APPLICATION

                                   9                          FOR ADMISSION OF ATTORNEY PRO HAC VICE

                                  10
                                                IT IS HEREBY ORDERED THAT the application of              Tsuki Hoshijima            is
                                  11

                                  12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
Northern District of California
 United States District Court




                                  13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

                                  14   counsel designated in the application will constitute notice to the party.

                                  15   Dated:      May 9, 2025

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                                                                                  UNITED STATES DISTRICT/MAGISTRATE JUDGE
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                                       Updated 11/2021                                   2
List of Plaintiffs represented by Tsuki Hoshijima:

AMERICAN FEDERATION OF GOVERNMENT EMPLOYEES, AFL-CIO;

AMERICAN FEDERATION OF STATE COUNTY AND MUNICIPAL EMPLOYEES, AFL-
CIO;

SERVICE EMPLOYEES INTERNATIONAL UNION, AFL-CIO;

AFGE LOCAL 1122;

AFGE LOCAL 1236;

AFGE LOCAL 2110;

AFGE LOCAL 3172;

SEIU LOCAL 1000;

ALLIANCE FOR RETIRED AMERICANS;

AMERICAN GEOPHYSICAL UNION;

AMERICAN PUBLIC HEALTH ASSOCIATION;

CENTER FOR TAXPAYER RIGHTS;

COALITION TO PROTECT AMERICA’S NATIONAL PARKS;

COMMON DEFENSE CIVIC ENGAGEMENT;

MAIN STREET ALLIANCE;

NORTHEAST ORGANIC FARMING ASSOCIATION, INC.;
VOTEVETS ACTION FUND INC;

WESTERN WATERSHEDS PROJECT;

CITY OF CHICAGO, ILLINOIS;

MARTIN LUTHER KING, JR. COUNTY, WASHINGTON;

HARRIS COUNTY, TEXAS; and

CITY OF BALTIMORE, MARYLAND.
                     COMMONWEALTH OF MASSACHUSETTS
SUFFOLK, SS.




            BE IT REMEMBERED, that at the Supreme Judicial Court holden at Boston
within and for said County of Suffolk, on                                                 November 19, 2015,

said Court being the highest Court of Record in said Commonwealth:



                                                       Tsuki Hoshijima


being found duly qualified in that behalf, and having taken and subscribed

the oaths required by law, was admitted to practice as an Attorney, and, by virtue

thereof, as a Counsellor at Law, in any of the Courts of the said Commonwealth:

that said Attorney is at present a member of the Bar, and is in good standing
according to the records of this Court*.

            In testimony whereof, I have hereunto set my hand and affixed the

                         seal of said Court, this thirtieth                                                  day of             April
                                           in the year of our Lord two thousand and twenty-five.




                                                                                          ALLISON S. CARTWRIGHT, CLERK



* Records of private discipline, if any, such as a private reprimand imposed by the Board of Bar Overseers or by any court, are not covered by this certification. X3116.

         Amended January 2022, effective February 2022 for digital and/or electronic attestation for the Supreme Judicial Court for Suffolk County
